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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

WILLIAM JOHNSON,                                     )
                                                     )
                      Plaintiff,                     )    Case No. 1:23-cv-00764-CFC
                                                     )
           v.                                        )
                                                     )
CHINOOK THERAPEUTICS, INC., ERIC                     )    JURY TRIAL DEMANDED
DOBMEIER, SRINIVAS AKKARAJU,                         )
ROBERT W. AZELBY, JEREL DAVIS,                       )
WILLIAM M. GREENMAN, MICHELLE                        )
GRIFFIN, MAHESH KRISHNAN, and                        )
DOLCA THOMAS,                                        )
                                                     )
                      Defendants.
                                                     )
                                                     )
                                                     )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: August 8, 2023                                   LONG LAW, LLC

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